 

 

US. DISTRICT COURT

. Case 3:18-cr-00319-B ORIGINAL” rae SD
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IN THE UNITED STATES DISTRICT COURT {| JUN 27 2018
FOR THE NORTHERN DISTRICT OF TEXAS |
DALLAS DIVISION CLERK, US DISTRICT COURT
By
UNITED STATES OF AMERICA

* XO g-18CR-319-B

PATRICK O. HOWARD

 

INDICTMENT
The Grand Jury charges:
Introduction and Summary
1. Beginning no later than January 2015 and continuing until on or about April 2017

(the Relevant Period), in the Dallas Division of the Northern District of Texas and
elsewhere, the defendant, Patrick O. Howard, aiding and abetting persons known and
unknown to the Grand Jury, knowingly, willfully, and with intent to defraud, used and
employed a scheme, artifice, device, and contrivance to defraud investors in connection
with sales of securities.

2. During the Relevant Period, Howard owned Howard Capital and OE Capital,
Dallas, Texas companies through which Howard operated three investment funds, (1)
Insured Liquidity Partners CFG I, LLC (CFG J), (2) Insured Liquidity Partners CFG II,
LLC (CFG ID, and (3) OE Capital Ventures, LLC (OE Fund) (collectively, the Funds).
3. Howard managed the Funds personally and through Howard Capital and OE
Capital.

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4. Howard exercised ultimate authority over Howard Capital, OE Capital, and each
of the Funds, including their bank accounts, overall direction, content of their public
statements, and the decision to disseminate such statements.

5. During separate offering periods during the Relevant Period, each Fund issued
membership units, and Howard, personally and through employees of OE Capital and
third-party brokers, offered and sold membership units to investors for $50,000 apiece.
Investors were told that the Funds would invest proceeds from unit sales into third-party
companies and that the Funds stood to profit when the companies paid revenue interests
that the Funds were entitled to receive.

6. In connection with the sale of membership units in the Funds, Howard, acting
both personally and through employees and the third-party brokers, misled, deceived, and
defrauded investors by misrepresenting, and by failing to disclose, material facts
concerning the investments. ©

7. Among other material facts, Howard knowingly, willfully, and with intent to °
defraud, misled and deceived investors about earning a minimum return of 12% annually,
paid quarterly; about the uses to which Howard had put and would put the investors’
funds; about Howard being a Registered Investment Advisor, about OE Capital having
average earnings of 20%; about the Funds depending on “insurance based assets
purchased to offset company underperformance” or having “insured liquidity” to protect

investors’ investments and minimum returns; and about the Funds’ purchase of real estate

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to mitigate investors’ risk.

8. Howard also caused investors who elected to reinvest quarterly earnings to
receive phony account statements showing that their accounts had been credited the
minimum preferred return, when they had not been. At the same time, investors who
chose to receive their quarterly earnings as distributions were actually given Ponzi
payments, that is, they were paid with the investments of later investors rather than with
actual earnings of the Funds.

9. In reality, and as Howard knew, the Funds did not provide investors with a
minimum return of 12% annually, they did not average 20% growth, and account
statements showing that investors accounts had been credited the alleged minimum
quarterly return were false and fraudulent, because the Funds’ combined earnings rate
from inception through December 31, 2016 was just 0.25%; Howard never was a
Registered Investment Advisor, either with the Securities and Exchange Commission or
with any state; any insurance that the Funds purchased did not protect investors’ principal
or their alleged minimum earnings; not a single dollar of investor funds was ever used to
purchase real estate; and Howard was spending investors’ money on things the investors
did not approve or even know about, including Ponzi payments to earlier investors, a
nearly $200,000 payment to buyout a former business partner who was temporarily
associated with CFG I, an approximately $225,000 payment to Howard’s personal bank

account that was neither salary nor bonus, and corporate and business expenses that

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greatly exceeded the limitations conveyed to investors.

Manner and Means
10. The manner and means of the fraudulent scheme, artifice, device, and contrivance
included the following things.
The Securities
11. In soliciting investors for each of the Funds, Howard, both personally and through
employees and the third-party brokers, distributed a partnership agreement and private-
placement memorandum (PPM), describing the Fund, its management, and its investment
objectives. Howard, directly or indirectly, also distributed marketing documents
(Investor Packet) to investors.
12. Each of the PPMs provided that the relevant Fund would raise money by selling
securities in the form of “membership units” for $50,000 apiece, with a three-year
investment term.
13. For CFG I, the PPM specified that the Fund would use the offering proceeds “to
purchase royalty revenue interest from CFG Inc. and its affiliates and associates.”
14. For CFG II and OE Fund, the PPMs provided that the Funds would use offering
proceeds to invest in unspecified third-party companies—teferred to as portfolio
companies—in exchange for a right to receive a portion of the companies’ future
revenue.

15. For each Fund, the membership units sold by Howard constituted an investment

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contract. Investors contributed money, which was pooled, in exchange for investment
returns that the Funds’ investments in third-party companies supposedly would yield.

16. Investors’ expectations of profits were based solely on the efforts of Howard and
other third-parties, and investors had no control over the management of the Funds.

17. | Under the securities laws of the United States, investment contracts are securities.
Sales of Membership Units

18. Through Howard Capital, Howard solicited investors in person and by telephone
to raise money for CFG I.

19. For CFG II and OE Fund, Howard solicited investors personally. He also
retained third-party brokers to solicit investors in exchange for a 5% sales commission
after they were trained by OE Capital.

20. Howard and sales agents he employed at OE Capital also solicited investors for
OE Fund through seminars and by email.

21. Investors paid their money to Howard through check or by wire.

22. In this way, Howard directly and indirectly offered and sold membership units in
CFG I, CFG IL, and OE Fund to more than 100 investors and raised more than $13

million, as set forth in approximate amounts below:

 

 

 

Fund Approximate Offering Period Investors | Amount Raised
CFGI January 2015 — January 2016 18 $833,993
CFG II August 2015 — February 2016 36 $4,297,398

 

 

 

 

 

 

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OE Fund February 2016 — December 2017 65 $7,960,585

 

 

Total: 119 $13,091,976

 

 

 

 

 

23. During the term of each investment, Howard caused quarterly account statements
to be sent to investors via the mails. Howard also caused payments to be made to
investors who elected to receive quarterly earnings as distributions.

Misrepresentations and Omissions of Material Facts

24. Inconnection with the sale of membership units in the Funds, Howard directly
and indirectly made to investors and prospective investors, and caused to be made to
them, a number of untrue representations of material facts. Howard also directly and
indirectly failed to state material facts, and caused others to fail to state material facts,

_ thus causing affirmative statements that were made to investors and prospective investors
to be materially misleading under the circumstances, including the following.

25. Throughout the Funds’ offerings, Howard represented to investors and potential
investors that they would receive minimum returns of 12% annually for three years.

26. Howard made these representations to investors and potential investors orally, in
PPMs and partnership agreements, in the Investor Packet, and in radio advertising, the
content of which he reviewed and approved.

27. At the time that Howard made these representations about investors’ minimum

returns, he knew that the Funds’ actual earnings were abysmal—a combined earnings rate

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of just 0.25% from inception through December 31, 2016.

28. Accordingly, Howard’s representations about investors’ minimum returns were
materially false and misleading because they failed to disclose that the Funds’ actual
earnings were wholly insufficient to pay the promised returns.

29. Howard, in the Investor Packet, represented to investors and potential investors
that OE Capital’s average growth was 20%.

30.  Inreality, as Howard knew, OE Capital based the 20% return on a forecasting
model, but failed to disclose that it was a forecast, not a reflection of actual average
growth as represented.

31. Accordingly, Howard’s representations to investors and potential investors about
OE Capital’s average growth were materially false and misleading.

32. During the term of each investment, Howard caused quarterly account statements
to be sent to investors via the mails. For investors who chose to reinvest earnings, the
account statements showed that their account balances had been credited a “Preferred
Return” equal to the minimum return of 12% annually.

33. As Howard knew, however, the Funds generated only $33,334 in total earnings as
of December 31, 2016, an amount far less than the approximately $1 million in earnings
that the Funds had allegedly reinvested.

34. Accordingly, account statements showing that investors’ accounts had been

credited “Preferred Returns” were materially false and misleading because little to no

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earnings existed, let alone were reinvested as represented.

35. For those investors who received distribution payments, the account statements
described the payments as “Preferred Returns.”

36.  Inreality, and as Howard knew, the payments were derived from payments made
by other investors to purchase membership units rather than investment returns.

37. Accordingly, the account statements were materially false and misleading because
they described Ponzi payments as investment returns, and Howard failed to disclose the
true source of the payments.

38. | Howard repeatedly represented to investors and potential investors that insurance
protected investors’ principal and guaranteed their minimum annual return of 12%.

39. | Among other representations about insurance, the CFG I partnership agreement
referred to offering proceeds as “insured liquidity.”

40. The OE Fund PPM referred to “insurance based assets” that the Fund had
“purchased to offset company underperformance.”

41. The CFGII PPM and the Investor Packet stated that “the Company is backing the
minimum preferred yield and principal with insurance based assets” thus providing
“assurance of the return of principal and minimum yield distribution.”

42. And Howard told investors and prospective investors that insurance guaranteed
their minimum 12% annual return.

43. These representations were materially false and misleading because, as Howard

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knew, none of the Funds purchased insurance that protected investors’ principal or
minimum yield.

44. Howard represented to investors and potential investors that he was a Registered
Investment Advisor.

45. This representation was materially false and misleading because Howard has
never been registered with the Securities and Exchange Commission or any state as an
investment advisor.

46. Howard represented to investors and potential investors that the Funds invested in
real estate as a “backstop” or “stop loss” against underperformance.

47. | These representations were materially false and misleading because, as Howard
knew, not a single dollar of investor funds was ever used to purchase real estate.

48. The PPM for each Fund represented that a certain percentage of investor funds
would be invested in portfolio companies.

49. Inreality, and as Howard knew, the Funds invested a much smaller percentage of
investor money in portfolio companies than was represented to investors and prospective
investors. Howard failed to disclose this material fact to investors and prospective
investors.

50. Howard also failed to disclose to investors and prospective investors that he
caused investor money that was neither salary nor bonus to be transferred to his personal

bank account, to be used to buyout a former business partner, and for other purposes that

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investors did not authorize or even know about.

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Counts One through Five
Securities Fraud and Aiding and Abetting
(15 U.S.C. §§ 78j(b) and 78ff, 17 C.F.R. § 240.10b-5, and 18 U.S.C. § 2) .

As to each of Counts One through Five listed below, in the Dallas Division of the
Northern District of Texas and elsewhere, the defendant, Patrick Howard, aiding and
abetting persons known and unknown to the Grand Jury, willfully, knowingly, and with
intent to defraud, by use of the mails and means and instrumentalities of interstate
commerce, in connection with sales of membership units to the investors identified below
on or about the dates stated below, directly and indirectly:

e employed devices, schemes and artifices to defraud;

e made and caused to be made untrue statements of material facts and
omitted to state material facts that were necessary in order to make
statements that were made not misleading in light of the circumstances
under which the statements were made; and

e engaged in acts, practices, and courses of business that operated and would

operate as a fraud and deceit on a person,

all as alleged in Paragraphs 1 through 50, which are incorporated herein by reference.

 

 

 

 

Count Date of Wire Investor
(On or about)
1 July 17, 2015 A.V.
2 July 24, 2015 A.V.
3 May 7, 2015 J.B.

 

 

 

 

 

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4 July 2, 2015 J.B.

 

5 March 15, 2016 L.C.

 

 

 

 

 

Each in violation of 15 U.S.C. §§ 78j(b) and 78ff, 17 C.F.R. § 240.10b-5, and 18

US.C. § 2.

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Counts Six through Fourteen |
Mail Fraud and Aiding and Abetting
(18 U.S.C. §§ 1341 and 2)

Beginning no later than January 2015 and continuing until on or about March
2017, in the Dallas Division of the Northern District of Texas and elsewhere, the
defendant, Patrick O. Howard, aiding and abetting persons known and unknown to the
Grand Jury, knowingly and with intent to defraud, devised and intended to devise a
scheme and artifice to defraud investors and to obtain money and property from investors
by means of materially false and fraudulent pretenses, representations, and promises.

Manner and Means

As the manner and means of the scheme and artifice, the Grand Jury adopts, re-
alleges, and incorporates herein by reference all allegations set forth in Paragraphs 1
through 50 above.

Mailings

As to each of Counts Six through Fourteen below, on or about the date stated, in
the Dallas Division of the Northern District of Texas, Howard, knowingly and with
intent to defraud, for the purpose of executing and attempting to execute the
aforementioned scheme and artifice, caused to be delivered by the United States Postal

Service or an interstate commercial carrier, to the address listed below, among other

things, the contents stated below.

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Count Date Address Contents

6 April 1, 2016 A.V. Statement for April
Lewisville, TX 1, 2016 for account
OECP-1058 of A.V.

7 April 1, 2016 A.V. Statement for April
Lewisville, TX 1, 2016 for account
OECP-1010 of A.V.

8 January 1,2017 | ES. Statement for
Saint Henry, OH January 1, 2017 for
OECP-1097 account of E.S.

9 January 1,2017 | J.B. Statement for
Carrollton, TX January 1, 2017 for
OECP-1046 account of J.B.

10 October 1, 2016 | J.B. Statement for
Carrollton, TX October 1, 2016 for
OECP-1046 account of J.B.

11 July 1, 2016 L.C. Statement for July
Land O’ Lakes, FL | 1, 2016 for account

OECP-1068 of L.C.

12 October 1,2016 | M.R.-H. Statement for
Clearwater, FL October 1, 2016 for
OECP-1091 account of M.R.-H.

13 January 11,2017 | M.R.-H. Statement for
Clearwater, FL January 1, 2017 of
OECP-1091 M.R.-H.

14 January 1,2016 | RJ. Statement for
Mesquite, TX January 1, 2016 of
OECP-1001 RJ.

 

Each in violation of 18 U.S.C. §§ 1341 and 2.

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Forfeiture Notice
(18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. § 2461(c))

Upon conviction for any of the offenses alleged in Counts One through Fourteen
of this Indictment, the defendant, Patrick Howard, shall forfeit to the United States any
property, real or personal, constituting or derived from proceeds traceable to the
respective offense, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

Pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b), if any of
the above property subject to forfeiture, as a result of any act or omission of the
defendant, cannot be located upon the exercise of due diligence; has been transferred or
sold to, or deposited with, a third person; has been placed beyond the jurisdiction of the
Court; has been substantially diminished in value; or has been commingled with other
property which cannot be subdivided without difficulty, it is the intent of the United
States of America to seek forfeiture of any other property of the defendant up to the value

of the above described property subject to forfeiture.

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FORPERSON

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA -

PATRICK O. HOWARD

 

INDICTMENT

15 U.S.C. §§ 78] (b) and 78ff, 17 C.F.R. § 240.10b-5, and 18 U.S.C. § 21
Securities Fraud and Aiding and Abetting
(Counts 1 — 5)

18 U.S.C. §§ 1341 and 2
Mail Fraud and Aiding and Abetting
(Counts 6 — 14)

 

 

 

14 Counts
A true bill rendered — !
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DALLAS FOREPERSON

 

Filed in open court this 26th day of June, 2018.

 

No Warrant Needed

 

UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pending
